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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF VERMONT



MISTY BLANCHETTE PORTER,                     )
M.D.,                                        )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )                      Docket No. 5:17-CV-194
                                             )
DARTMOUTH-HITCHCOCK                          )
MEDICAL CENTER,                              )
DARTMOUTH-HITCHCOCK                          )
CLINIC, MARY HITCHCOCK                       )
MEMORIAL HOSPITAL, and                       )
DARTMOUTH-HITCHCOCK                          )
HEALTH,                                      )
                                             )
               Defendants.                   )



                    STIPULATED MOTION FOR LEAVE TO AMEND

       Plaintiff Misty Blanchette Porter, M.D., (“Plaintiff” or “Dr. Porter”), by and through her

counsel, Katherine B. Kramer, Esq., of Katherine Burghardt Kramer Law Office PLLC, and

Geoffrey J. Vitt, Esq., of Vitt & Associates PLC, hereby moves for leave to file her First

Amended Complaint, pursuant to Fed. R. Civ. P. 15(a). A copy of the Proposed First Amended

Complaint (“Amended Complaint”) is attached as Exhibit A, along with a redline comparison

with the initial Complaint, attached as Exhibit B. Defendants Dartmouth-Hitchcock Medical

Center, et al. (together, “Defendants”) have consented in writing to the filing of the Amended

Complaint.

                                        BACKGROUND

       Plaintiff filed her complaint in this action on October 11, 2017 (the “Complaint”). The

Complaint asserts claims for common law wrongful termination; violation of the New

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Hampshire Whistleblowers’ Protection Act (RSA 275-E:2); and disability discrimination and

retaliation under both New Hampshire and federal law.

       The Amended Complaint adds claims for disability discrimination and retaliation under

the Vermont employment statute (21 V.S.A. § 495 et seq.) and under Section 504 of the

Rehabilitation Act of 1973 (29 U.S.C. § 794).

       Plaintiff is an internationally renowned physician, with a specialty in reproductive

medicine and GYN ultrasound. She worked in the Reproductive Medicine and Infertility

Division (“REI Division”) of the OB/GYN Department at Dartmouth-Hitchcock from 1996

through 2017. In May 2017, Dartmouth-Hitchcock abruptly announced that it was closing the

REI Division, and it unlawfully terminated Plaintiff’s employment.

       The parties have been slowly progressing through discovery. There is a pending deadline

of August 1, 2018, for Defendants to complete their production of documents in response to

Plaintiff’s First Set of Requests to Produce. No depositions have been taken yet, or even

scheduled, in light of the not-yet-completed production by Defendants. Thus, although the case

has been pending for a number of months, it is still in the relatively early stages.

       The deadline to amend pleadings under the scheduling order has not yet expired. The

deadline was recently extended to October 15, 2018. See Doc. 47 (Second Revised Scheduling

Order) (“Motions for joinder of parties or amendments to the pleadings shall be filed on or

before October 15, 2018.”).

                                           ARGUMENT

       Under Fed. R. Civ. P. 15(a)(2), Plaintiff “may amend [her] pleading only with the

opposing party’s written consent or the court’s leave.” Plaintiff does not fall within the time

periods for amendment as of right under Rule 15(a)(1).



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          Because Defendants have consented in writing to the filing of the proposed Amended

Complaint, Plaintiff is permitted by Rule 15(a)(2) to amend her complaint.

          Plaintiff is not adding any new types of claims in the Amended Complaint. Rather, she is

diversifying the statutory bases for her claims arising from disability discrimination and/or

retaliation.

          The factual allegations of the complaint are largely untouched. However, the proposed

Amended Complaint adds allegations about Dr. Leslie DeMars stepping down as Chair of the

OB/GYN Department in June 2017, shortly after the closure of the REI Division and the

termination of Dr. Porter. Plaintiff has moved to compel (Doc. 26) the documents related to Dr.

DeMars ceasing to be Chair of the OB/GYN Department, and that motion is currently pending

before this Court. During discussions with counsel and at oral argument on July 17, 2018, on the

Motion to Compel, Defendants’ counsel argued, in part, that those documents were “irrelevant”

because the Complaint did not include allegations regarding Dr. DeMars ceasing to be Chair. In

light of that argument from Defendants – even though the standard of relevance for discovery

purposes extends beyond the exact words of a complaint – the Amended Complaint includes

such allegations.


                                            CONCLUSION

          For the foregoing reasons, Plaintiff respectfully requests that the Court grant this

stipulated motion for leave to amend and to file the proposed First Amended Complaint attached

hereto.




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DATED at Middlebury, Vermont, in the County of Addison, this 27th day of July 2018.


                                                      KATHERINE BURGHARDT KRAMER
                                                      LAW OFFICE PLLC


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                                                      Counsel for Plaintiff
                                                      Misty Blanchette Porter, M.D.



                                 CERTIFICATE OF SERVICE

I hereby certify that on July 27, 2018, I electronically filed a true and correct copy of Plaintiff’s
Motion for Leave to Amend, with the Clerk of Court using the CM/ECF system, which will send
notification of such filing to all counsel of record.

                                                              /s/ Katherine Burghardt Kramer
                                                              Katherine Burghardt Kramer




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